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5
     Attorney for Defendant
6
     RAY HEFFINGTON

7
                              IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                        FRESNO VENUE

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                                                   --oo0oo--

11
     UNITED STATES OF AMERICA,             ) Case No.: 1:08-CR-00224-008 OWW
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                                           )
                                           )
13               Plaintiff,                ) ORDER MODIFYING TERMS OF
                                           ) SUPERVISED RELEASE
14         vs.                             )
                                           )
15   RAY HEFFINGTON,                       )
                                           )
16
                                           )
                 Defendant.                )
17
                                           )
     _____________________________________ )
18

19          Upon Motion by the Defendant and hearing upon the matter on August 29, 2011, IT IS

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     HEREBY ORDERED that defendant RAY HEFFINGTON shall have the terms of his supervised

21   release in the above-entitled matter shall be modified as follows:

22          Special Condition Nine (that defendant not associate with any member of any criminal street

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     gang or disruptive group, specifically, any member of the Hells Angels) SHALL BE REMOVED.

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     ORDER MODIFYING TERMS OF
     SUPERVISED RELEASE                            1-
          Case 1:08-cr-00224-LJO-DLB Document 737 Filed 09/02/11 Page 2 of 2


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     IT IS SO ORDERED.
2

3
       Dated:                   September 1, 2011             /s/ Oliver W. Wanger
          DEAC_Signature-END:
                                                         UNITED STATES DISTRICT JUDGE
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          emm0d64h
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     ORDER MODIFYING TERMS OF
     SUPERVISED RELEASE                             2-
